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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :               10/16/2020
PRENTICE COX,                                                          :
                                                                       :
                                    Plaintiff,                         :     19-CV-8590 (JPC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
BAKERS PIZZA HK LLC and PARPIS REALTY LLC, :
                                                                       :
                                    Defendants.                        :
                                                                       :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        On September 29, 2020, counsel for Defendant Parpis Realty LLC, Joseph D. Taylor of

Helbraun & Levey, LLP, filed a motion to withdraw as attorney (Dkt. 22). Pursuant to Rule 6.1

of the Local Rules of the U.S. District Court for the Southern District of New York, any opposition

to that motion should have been filed by October 13, 2020. No opposition motion has been filed.

The Court hereby orders that any opposition to the motion must be filed by October 19, 2020,

otherwise the motion will be treated as unopposed.


        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
